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                   EXHIBIT B
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                                     Initial Reimbursement Expenses
                                                                 Dates of need: 1/10/2021-10/10/2021

                                                                 Case No.: H-300-20302-890520

                                                                 USCIS #: WAC; IOE8107735208



 To whom it may concern:

 The purpose of this letter is to inform you that all the travel expenses acquired from Country of origin to the State
 of Georgia for the job offer have been reimbursed in full. These expenses include: lodge, transportation, and visa
 rights. If you have any questions, please contact the employer.
 Visa $

 Process /Lodging /meaIsS

 Transportation S

 Reimbursement Amount:$



A quien pueda interesar:

El proposito de esta carta es para informarle de que todos los gastos de viaje adquiridos por el pais de origen al
Estado de Georgia para la oferta de trabajo se han reembolsado en su totalidad. Estos gastos incluyen: albergue,
transporte y derechos de visado. Si usted tiene alguna pregunta, por favor pongase en contacto con el empleador.
Visa $ I i'O
Proceso/Alojamiento/Biaticos S

Transporte $

Cantidad de Reembolso: ^


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Employee/Trabajador              Date/Fecha




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Employer/Patron            Date/Fe



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can tadas las gastos y no se me debe dinera par rrn empleador.
        Case 5:23-cv-00010-LGW-BWC Document 22-1 Filed 06/13/23 Page 3 of 11




                                          Initial Reimbursement Expenses
                                                                      Dates of need; 1/10/2021-10/10/2021

                                                                     Case No.: H-300-20302-890520

                                                                      USCIS #: WAG: IOE8107735208



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      rights. If you have any questions, please contact the employer.
      Visa $

      Process /Lodging /meals$

      Transportation $

      Reimbursement Amount:$



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     transporte y derechos de visado. Si usted tiene alguna pregunta, por favor pdngase en contacto con el empleador.
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     Transporte $ /        —

     Cantidad de Reembolso:          ^
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     Employee/Trabajador             Date/Fecha




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     con todos los gastos y no se me debe dinero por mi empleador.
   Case 5:23-cv-00010-LGW-BWC Document 22-1 Filed 06/13/23 Page 4 of 11




                                     Initial Reimbursement Expenses
                                                                 Dates of need: 1/10/2021-10/10/2021

                                                                 Case No.: H-300-20302-890520

                                                                 USCIS #: WAC: IOE810773S2Qg



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 Visa S

 Process /Lodging /meals$

 Transportation $

 Reimbursement Amount:$



 A quien pueda interesar:

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Visa %{iO '
Proceso/Alojamiento /Biaticos $ d' ^

Transporte $ /9
Cantidad de Reembolso: ^


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Employee/Trabajador             Date/




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Employer/Patron




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   Case 5:23-cv-00010-LGW-BWC Document 22-1 Filed 06/13/23 Page 5 of 11




                                     Initial Reimbursement Expenses
                                                                 Dates of need: 1/10/2021-10/10/2021

                                                                 Case No.: H-300-20302-890520

                                                                 USCIS ft: WAG: IOE8107735208



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 Visa $

 Process /Lodging /meals$

 Transportation $

 Reimbursement Amount:$



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transporte y derechos de visado. Si usted tiene alguna pregunta, por favor pongase en contacto con el empleador.
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Proceso/Alojamiento/Biaticos $          -

Transporte $ /      "

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Employee/Trabajador             Date/Fecha




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Employer/Patron



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con todos los gastos y no se me debe dinero por mi empleador.
   Case 5:23-cv-00010-LGW-BWC Document 22-1 Filed 06/13/23 Page 6 of 11




                                     Initial Reimbursement Expenses
                                                                 Dates of need: 1/10/2021-10/10/2021

                                                                 Case No.: H-300-20302-890520

                                                                 USCIS #: WAG: IOE8107735208



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 Visa $

 Process /Lodging /meals$

 Transportation $

 Reimbursement Amount:$



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Proceso/Alojamiento /Biaticos $

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Employee/Trabajador             Date/Eecha




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   Case 5:23-cv-00010-LGW-BWC Document 22-1 Filed 06/13/23 Page 7 of 11




                                     Initial Reimbursement Expenses
                                                                 Dates of need: 1/10/2021-10/10/2021

                                                                 Case No.: H-300-20302-890S20

                                                                 USCIS #: WAG: IOE8107735208



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 of Georgia for the job offer have been reimbursed in full. These expenses include: lodge, transportation, and visa
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 Visa $

 Process /Lodging /meals$

 Transportation $

 Reimbursement Amount:$



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transporte y derechos de visado. Si usted tiene alguna pregunta, por favor pongase en contacto con el empleador.
Visa$ /fa '
Proceso/Alojamiento/Biaticos $

Transporte $ /p-o "

Cantidad de Reembolso: ^



Employee/Trabajador             Date/Fecha
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   Case 5:23-cv-00010-LGW-BWC Document 22-1 Filed 06/13/23 Page 8 of 11




                                     Initial Reimbursement Expenses
                                                                 Dates of need: 1/10/2021-10/10/2021

                                                                 Case No.: H-300-20302-890520

                                                                 USCIS #: WAG: IOE8107735208



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 Visa $

 Process /Lodging /meals$

 Transportation $

 Reimbursement Amount:$



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Visa $      '

Proceso/Alojamiento/Biaticos $         '

Transporte $/
Cantidad de Reembolso:                 '




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Employer/Patron




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    Case 5:23-cv-00010-LGW-BWC Document 22-1 Filed 06/13/23 Page 9 of 11




                                     Initial Reimbursement Expenses
                                                                 Dates of need: 1/10/2021-10/10/2021
                                                                 Case No.: H-300-20302-890520

                                                                 USCIS #: WAG: IOE81077352G8


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 Visa $

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 Transportation $

 Reimbursement Amount:$



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Employer/Patron



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  Case 5:23-cv-00010-LGW-BWC Document 22-1 Filed 06/13/23 Page 10 of 11




                                      Initial Reimbursement Expenses
                                                                 Dates of need: 1/10/2021-10/10/2021

                                                                 Case No.: H-300-20302-890520

                                                                 USCIS #: WAG: iOE8107735208



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 Process /Lodging /meals$

 Transportation $

 Reimbursement Amount:$



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Employee/Trabajador             Date/Fecha




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con todos los gastos y no se me debe dinero por mi empleador.
  Case 5:23-cv-00010-LGW-BWC Document 22-1 Filed 06/13/23 Page 11 of 11




                                     initial Reimbursement Expenses
                                                                 Dates of need: 1/10/2021-10/10/2021

                                                                 Case No.: H-300-20302-890S20

                                                                 USCIS #: WAC: IOE8107735208



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 Visa S

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Employee/Trabajador             Date/Fecha




Employer/Patron



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con todos los gastos y no se me debe dinero pgr mi empleador.
